

Matter of Citigroup Global Mkts., Inc. v Fiorilla (2021 NY Slip Op 03250)





Matter of Citigroup Global Mkts., Inc. v Fiorilla


2021 NY Slip Op 03250


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Acosta, P.J., Webber, Kennedy, Shulman, JJ. 


Index No. 653017/13 Appeal No. 13878N-13878NA Case No. 2020-02741 

[*1]In the Matter of Citigroup Global Markets, Inc. et al., Petitioners-Respondents-Appellants,
vJohn Leopoldo Fiorilla, as Trustee FBO, etc., Respondent-Appellant-Respondent.


Law Office of Bernard V. Kleinman, PLLC, Somers (Bernard V. Kleinman of counsel), for appellant-respondent.
Paul, Weiss, Rifkind, Wharton &amp; Garrison LLP, New York (Audra J. Soloway of counsel), for respondents-appellants.



Orders, Supreme Court, New York County (Marcy S. Friedman, J.), entered on or about October 25 and 28, 2019, which, respectively, granted petitioners' motion to the extent of holding respondent Fiorilla in civil contempt for violating an anti-suit injunction and awarded attorneys' fees to petitioners, and denied petitioners' motion for criminal contempt, unanimously affirmed, without costs.
The court providently exercised its discretion in holding respondent Fiorilla in civil contempt for violating the anti-suit injunction issued by Supreme Court (Matter of Citigroup Global Mkts., Inc. v Fiorilla, 151 AD3d 665 [1st Dept 2017], lv dismissed 30 NY3d 986 [2017]), which prohibited him from taking legal action in France to enforce an arbitration award that Supreme Court had previously vacated (see Matter of Citigroup Global Mkts., Inc. v Fiorilla, 127 AD3d 491 [1st Dept 2015], lv denied 26 NY3d 908 [2015]). However, contrary to petitioners' argument, we find that it was not an abuse of discretion to decline to hold Fiorilla in criminal contempt for this conduct. Finally, we find that the court providently exercised its discretion in rejecting Fiorilla's request for a second adjournment of the evidentiary hearing on the contempt motion. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








